Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 1 of 71 PageID #:25383



                       SETTLEMENT AGREEMENT AND RELEASE

       This Settlement Agreement and Release (hereinafter, “Agreement”, as defined below) is

entered into by and between (1) Kent Eubank, Jerry Davis, Ricky Falaschetti, Rita Cicinelli,

Robert Josephberg, Jeffrey Acton, Kenneth Hechtman, James Neiman, Amy Chasin and Edward

Ruhnke, (the “Named Plaintiffs”), for themselves and on behalf of the Settlement Class (as

defined below) and all members of the Settlement Class (collectively “Plaintiffs”, as defined

below), and (2) Defendants Pella Corporation and Pella Windows and Doors, Inc. (collectively

“Defendants”), for the purpose of settling and finally and completely resolving certain claims

and lawsuits, as set forth herein, which the Named Plaintiffs, the Settlement Class, or any

Settlement Class Member (as defined below) currently have against Defendants or any of the

Releasees (as defined below), as well as any and all future or potential claims, whether known or

unknown, which the Named Plaintiffs, the Settlement Class, and any Settlement Class Member

could have or may have against Defendants or any of the Releasees arising out of or in any way

relating to the design, manufacture, sale, distribution, marketing, warranty, service, use,

performance, installation, purchase, or in any way relating to Pella ProLine Casement Windows

(as defined below) as set forth herein.


                                          I.   RECITALS

       1.01. The purpose of this Agreement is to memorialize the terms and conditions of the

Settlement through and by which the parties to this Agreement (the “Parties”) wish to finally and

conclusively resolve all Claims, arising out of or in any way relating to the design, manufacture,

sale, distribution, marketing, warranty, service, use, performance, installation, purchase, or in any

way relating to Pella ProLine Casement Windows, as set forth herein.



                                               1 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 2 of 71 PageID #:25384



       1.02. Named Plaintiffs have alleged that certain windows manufactured and/or sold by

Defendants contained manufacturing and design defects that Named Plaintiffs claim have caused

or will cause damage, including wood rot, to class members’ windows, window finishing, homes

and/or personal property allegedly resulting from water intrusion.

       1.03. Named Plaintiffs have asserted various claims against Defendants in the Lawsuit (as

defined below).

       1.04. Defendants deny the allegations in the Lawsuit and assert numerous defenses to the

claims asserted by the Named Plaintiffs in the Lawsuit.

       1.05. The U.S. District Court for the Northern District of Illinois, Eastern Division, has

certified certain litigation classes and subclasses in the Lawsuit.

       1.06. The Parties, after having engaged in extensive discovery in the Lawsuit, including

written discovery, document production, depositions of numerous personnel and employees of

Defendants, depositions of Named Plaintiffs, disclosure of experts, expert written discovery and

document production, exchange of expert reports and rebuttal reports and sur-rebuttal reports,

depositions of experts, having engaged in extensive procedural and case-dispositive motions

practice, and having engaged in extensive arms-length settlement negotiations with the assistance

of United States Magistrate Judge M. David Weisman serving as the mediator in the Lawsuit, have

reached an agreement providing for a nationwide resolution of all claims, except personal injury

claims, that have been or could have been asserted by any Named Plaintiff on behalf of

themselves and the Settlement Class and by any Settlement Class Member against Defendants or

any of the Releasees relating to Pella ProLine Casement Windows.

       1.07. Named Plaintiffs and Plaintiffs’ counsel examined and considered the benefits to be

provided to Settlement Class Members under this Agreement; considered the limited scope of the


                                               2 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 3 of 71 PageID #:25385



Court’s class-certification ruling and its ramifications for Settlement Class Members, including the

limitations of relief available to the approved class after trial of the Lawsuit compared to the

benefit afforded to the class by this Agreement in eliminating the need for subsequent litigation;

considered the laws of the several States and the claims and defenses that Defendants could assert

under those laws; considered the challenge of establishing various facts, such as the existence of

defects in some or all Pella ProLine Casement Windows sold from 1991 to 2009, and whether and

when Pella had sufficient knowledge of the alleged defects during any or all years in the relevant

period; considered the inherent risks of litigation and the length of time required to complete the

litigation and any appeals; and concluded the Agreement to be in the best interest of Settlement

Class Members.

       1.08. Defendants have at all times disputed, and continue to dispute, Named Plaintiffs’

allegations in the Lawsuit and to deny any liability for any of the claims that have or could have

been raised regarding Pella ProLine Casement Windows by Named Plaintiffs or any Settlement

Class Member; however, Defendants believe that the comprehensive resolution of the issues

relating to Pella ProLine Casement Windows as provided in this Agreement will avoid the inherent

uncertainty and substantial expense and disruption of continued litigation.

       1.09. The Parties wish to compromise their differences and achieve peace with finality on

the issues in dispute.

       1.10.    In consideration of all of the terms, conditions, covenants, and promises set forth

herein, and subject to preliminary court approval, final court approval, entry of judgment and

dismissal with prejudice, in the manner required by the U.S. District Court for the Northern

District of Illinois, Eastern Division, and under the Federal Rules of Civil Procedure, such that the




                                               3 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 4 of 71 PageID #:25386



Lawsuit is completely and finally concluded, it is hereby agreed by and between the Parties as

follows:

                                      II.     DEFINITIONS

       As used in this Agreement, the following definitions shall apply:

       2.01. “Agreement” means this Settlement Agreement and Release, including the

exhibits attached hereto.

       2.02. “Application” means the motion or application to be filed in this Lawsuit by

Lead Class Counsel, Class Counsel, any Settlement Class Member’s counsel, and/or law firms

who have entered appearances for Settlement Class Members or Named Plaintiffs, for an award

of attorneys’ fees, costs, expenses, and disbursements incurred in connection with this Lawsuit,

including negotiating this Agreement and monitoring the Settlement administration process, in

an amount totaling no more than nine millions dollars ($9 Million).

       2.03. “CAFA Notice” means notification of this Agreement to federal and state

officials in accordance with 28 U.S.C. §1715.

       2.04. “Claim” or “Claims” means any and all past, present, future or potential claims,

demands, losses, suits, proceedings, payment of obligations, adjustments, executions, offsets,

actions, causes of action, costs, defenses, debts, sums of money, assertions of rights, accounts,

reckonings, bills, bonds, covenants, contracts, controversies, agreements, promises, expenses

(including without limitation court costs and attorneys’ fees), requests for relief of any kind,

statutory or regulatory obligations, judgments or any liabilities of any nature whatsoever, known

or unknown, anticipated or unanticipated, fixed or contingent, matured or un-matured, accrued or

un-accrued, whether in law or equity, whether sounding in tort, contract, equity, nuisance,




                                               4 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 5 of 71 PageID #:25387



trespass, negligence or strict liability, and which have been, could have been, or may be asserted

by or on behalf of any person.

       2.05. “Claimants” mean all Settlement Claims Members who do not properly opt out

of the Settlement and who submit claims during the Claims Period.

       2.06. “Claim Deadline” means the date set by the Court 120 days after entry of the

Preliminary Approval Order by which the Claim Form must be either postmarked or received by

the Notice and Settlement Administrator.

       2.07. “Claim Form” means the Court-approved form substantially identical in all

material respects to the Claim Form attached hereto as Exhibit 1 that can be used by Settlement

Class Members for submitting a Settlement Claim under the Claims Process terms of this

Agreement as set forth in Section 5.05 of this Agreement.

       2.08. “Claims Payment Date” means a date on which the Notice and Settlement

Administrator will have completed the processing of all claims and will initiate disbursement of

settlement funds to Settlement Class Members for all approved claims.

       2.09. “Claims Period” means the 120-day period from entry of the Preliminary

Approval Order through the Claim Deadline.

       2.10. “Claims Process” means the process Settlement Class Members must follow to

seek relief under this Agreement.

       2.11.    “Class Administration Expenses” means reasonable fees and expenses incurred

by the Notice and Settlement Administrator for administering the Settlement, including (a)

receipt and determination of Settlement Claims submitted by Settlement Class Members for

benefits under the Settlement, (a) preparation of status reports to the Parties, (b) preparation of




                                               5 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 6 of 71 PageID #:25388



tax returns for any settlement bank accounts, and (c) distribution of settlement payments to

eligible Settlement Class Members who timely submit valid Claim Forms.

       2.12. “Class Counsel” means Lead Class Counsel and the following attorneys of record

and their respective law firms: Shannon M. McNulty, Edward R. Moore, Joel R. Rhine, Marcio

W. Valladares, and John A. Yanchunis.

       2.13. “Class Notice” means the Court-approved Notice of Proposed Class Action

Settlement that is substantially identical in all material respects to that attached hereto as Exhibit

2.1.

       2.14. “Class Notice Expenses” means reasonable fees and expenses incurred by the

Class Notice Administrator for preparing and mailing of the Class Notice and for preparing and

completing notice by publication.

       2.15. “Court” means the United States District Court, Northern District of Illinois,

Eastern Division.

       2.16. “Date of Sale” or “Dates of Sale” means the date(s) the Pella ProLine Casement

Windows at issue were sold by Pella Corporation or its authorized dealers or retailers. If a

Settlement Class Member cannot establish the date(s) that Pella ProLine Casement Windows at

issue were sold, the Date of Sale shall be deemed to be the last day of the month following the

month in which the windows at issue were manufactured. For example, if a Settlement Class

Member cannot establish the date that a Pella ProLine Casement Window at issue was sold and

the window at issue was manufactured in February of 1998, the Date of Sale for that window

would be deemed to be March 31, 1998.




                                               6 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 7 of 71 PageID #:25389



       2.17. “Day” or “Days” unless otherwise noted, means a calendar day or calendar days.

In the event that any date or deadline set forth in this Agreement falls on a weekend or a federal

holiday, such a date or deadline shall be deemed to be the first business day thereafter.

       2.18. “Defendants” means Pella Corporation and Pella Windows and Doors, Inc.

       2.19. “Direct Class Notice Date” means the date no later than thirty (30) Days after the

entry of the Preliminary Approval Order, by which, in accord with the Notice Plan, the Notice

and Settlement Administrator mails the Class Notice to Settlement Class Members for whom the

Parties may have valid addresses. Pella agrees to undertake reasonable efforts to timely provide

the Notice and Settlement Administrator and Class Counsel the customer names, addresses, and

contact information in its possession so that such names and addresses and contact information

are included in the list of addressees to receive mailed notices pursuant to the Notice Plan.

       2.20. “Effective Date” means the first date that is three Days after the date on which

the judgment entered pursuant to the Final Approval Order shall be deemed “Final.” The

judgment entered pursuant to the Final Approval Order shall be deemed “Final” on the date upon

which the judgment is no longer subject to any further appeal or judicial reconsideration or

review. Thus, “Final” means, without limitation, the date of expiration of the time for the filing

or noticing of any appeal from, or other request for judicial reconsideration or review of, the

judgment entered pursuant to the Final Approval Order, if no appeal or other request for judicial

reconsideration or review was filed or noticed by that date; or, if an appeal or other request for

further judicial review of the judgment entered pursuant to the Final Approval Order is timely

filed or noticed, the date on which all appellate and/or other judicial proceedings resulting from

such filing(s) or notice(s) have been finally terminated, and the judgment entered pursuant to the

Final Approval Order is effective without the possibility of further review by any court.


                                              7 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 8 of 71 PageID #:25390



       2.21. “Eligible Claimant” means each Settlement Class Member who (1) is the current

or former owner of real property in the United States with a Structure or Structures in which a

Pella ProLine Casement Window is or was installed; (2) timely signs and submits, under penalty

of perjury, a properly completed Claim Form signed by the claimant as a declaration under 28

U.S.C. § 1746; (3) timely supplies all information, documents, and photographs required by this

Agreement and the Claim Form; and (4) meets all the relevant criteria set forth in the Agreement.

       2.22. “Eligible Damage” means water related damage including to the Window or

Windows and/or to the Sash because of water penetrating between the aluminum cladding of the

window and the window Sash, as well as the consequences of such water penetration and

damage, which includes;

       1.    Damage to the finishing on such Window;

       2.    Damage to other property surrounding such Window, such as water related damage

             to the Structure in which such window was installed; and

       3.    Labor costs necessary to replace a Window or its Sash because it was or is damaged

             from water penetration as described above and/or was or is causing damage to other

             property surrounding the window such that replacement was or is necessary to fix

             such damage.

       2.23. “Eligible Extended Period Claimant” means each Settlement Class Member

who (1) is the current or former owner of real property in the United States with a Structure or

Structures in which a Pella ProLine Casement Window is or was installed; (2) timely complies

with all the requirements in the Agreement; (3) timely contacts Pella Corporation’s Customer

Service Department at (888) 977-6387; and (4) meets all the relevant criteria set forth in the

Agreement.


                                              8 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 9 of 71 PageID #:25391



          2.24. “Extended Claims Period” for each Pella ProLine Casement Window with

Eligible Damage means the time period from the end of the Claims Period during which any

PSEP benefits are available.

          2.25. “Extended Period Claimants” mean all Settlement Class Members who have

not properly opted out of the Settlement and who submit Claims for Eligible Damage during the

Extended Claims Period.

          2.26. “Final Approval Hearing” means the final settlement approval hearing(s) to be

conducted by the Court in accord with the Federal Rules of Civil Procedure and due process to

determine the fairness, adequacy, and reasonableness of this Agreement and counsels’ fee, cost,

expense, and disbursement Applications.

          2.27. “Final Approval Order” means the Court’s order granting final approval to this

Agreement, awarding attorneys’ fees, costs, expenses, and disbursements; and entering final

judgment.

          2.28. “Lawsuit” means the class action lawsuit that is the subject of this Agreement

and which is pending in the Court as Eubank, et al., v. Pella Corp. and Pella Windows and

Doors, Inc., Case No. 06 C 4481.

          2.29. “Lead Class Counsel” means Robert A. Clifford and George K. Lang.

          2.30. “Mail” or “Mails” means the Notice and Settlement Administrator’s delivering of

a form, notice or other communication to a Settlement Class Member in accord with this

Agreement through the U.S. Postal Service, through private mail- or package-delivery carriers

such as UPS, FedEx, DHL, through electronic mail, through hand-delivery, or through a process-

server.




                                              9 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 10 of 71 PageID #:25392



       2.31. “Named Plaintiffs” means Kent Eubank, Jerry Davis, Ricky Falaschetti, Rita

Cicinelli, Robert Josephberg, Jeffrey Acton, Kenneth Hechtman, James Neiman, Amy Chasin

and Edward Ruhnke.

       2.32. “Notice and Settlement Administrator” means the individual(s) and/or firm(s)

retained by agreement of the Parties and with approval of the Court to implement the Notice Plan

and to administer this Agreement. The Notice and Settlement Administrator may also be

referred to as the Settlement Administrator.

       2.33. “Notice Plan” means the Court-approved plan and schedule for providing class-

wide notice of the Settlement and certification of the Settlement Class, that is substantially

identical in all material respects to that attached hereto as Exhibit 2, including the Class Notice,

to the Settlement Class in accord with the Federal Rules of Civil Procedure and as approved and

ordered by the Court, and the CAFA Notice. The Notice Plan will instruct the Settlement Class

that the attempted settlement of this Lawsuit, which was finally approved by the Court in April

2013, was rejected and set aside and voided on appeal; the instruction should in all material

respects be similar to the following language:

       “Plaintiffs and Defendants agreed to settle this class action lawsuit in 2011, and the Court
       finally approved the class settlement in April 2013. You may have received notification
       of the class settlement, which then required you to submit forms whether you wanted to
       participate in the class settlement or whether you wanted to exclude yourself from the
       settlement. You may have submitted these forms, including claim forms, regarding the
       settlement. However, in June 2014, the class settlement was rejected and set aside on
       appeal. The decision on appeal nullified the settlement and prompted the case to proceed
       on. With the exception of attorney George K. Lang, the attorneys previously representing
       the class were also replaced. As a consequence, even if you made an election to exclude
       yourself from the prior, nullified settlement, you must make a new election as to this
       notice (if you still choose to request exclusion from the class). You are therefore free to
       exclude yourself from this proceeding or, by doing nothing, be deemed to remain a class
       member.”


                                               10 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 11 of 71 PageID #:25393



       2.34. “Opt-Out List” means the complete and accurate list compiled by the Notice and

Settlement Administrator of all Settlement Class Members who have timely requested exclusion

or opt-out from the Settlement Class and meet the requirements for exclusion under this

Agreement.

       2.35. “Opt-Out Period” means the period beginning on the Direct Class Notice Date

and ending on the date set by the Court in the Preliminary Approval Order, which the Parties

agree will be no more than 120 Days from entry date of the Preliminary Approval Order.

       2.36. “Pella ProLine Casement Window” or “Pella ProLine Casement Windows”

means Pella ProLine® brand aluminum clad wood casement, awning, and/or transom windows

(including 250 and 450 Series) manufactured by Pella Corporation between January 1, 1991 and

December 31, 2009. For purposes of this Settlement, it shall be presumed that a window was

manufactured in the same calendar year in which it was originally sold unless clear evidence to

the contrary appears.

       2.37. “Plaintiffs” means the Named Plaintiffs and all members of the Settlement Class.

       2.38. “ProLine Service Enhancement Program” or “PSEP” of “PSEP Benefits”

refers to the program which provides the following services and benefits to claimants

establishing water intrusion and wood durability damage:

        1. Vintages covered

              a.        The program covers service related to wood durability of ProLine®

                        transom, awning and casement windows manufactured from 1991 through

                        2006 and units of the same style and vintage sold in other channels such as

                        the 250 Series and the 450 Series.

        2. Benefit options in years 11 through 15 after Date of Sale


                                               11 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 12 of 71 PageID #:25394



              a.      Branches will provide the customer the opportunity to purchase

                      replacement product on a sliding percent-off basis (discount) as follows:

                           Vintage            % off Current Retailer’s List Price

                           Year 11            45% off *

                           Year 12            40% off *

                           Year 13            35% off *

                           Year 14            30% off *

                           Year 15            25% off *

                                              *per unit/Sash basis

              b.      In addition, the branch may choose, in its sole discretion, to provide a

                      similar discount on finishing and installation for customers in these

                      situations.

       2.39. “Preliminary Approval Order” means the Order conditionally certifying the

Settlement Class, granting preliminary approval of the Settlement and this Agreement, and

approving the Notice Plan, to be entered by the Court without material alteration to the form

attached hereto as Exhibit 3.

       2.40. “Released Claims” means any and all past, present, future or potential Claims,

including without limitation any claims, demands, losses, suits, proceedings, payment of

obligations, adjustments, executions, offsets, actions, causes of action, costs, defenses, debts,

sums of money, assertions of rights, accounts, reckonings, bills, bonds, covenants, contracts,

controversies, agreements, promises, expenses (including without limitation court costs and

attorneys’ fees), requests for relief of any kind, statutory or regulatory obligations, judgments or

any liabilities of any nature whatsoever, known or unknown, anticipated or unanticipated, fixed

or contingent, matured or un-matured, accrued or un-accrued, whether statutory, in law or equity,

                                              12 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 13 of 71 PageID #:25395



whether sounding in tort, contract, equity, nuisance, trespass, negligence or strict liability that the

Named Plaintiffs, the Settlement Class, and/or any of the Settlement Class Members ever had,

now have, or may later claim to have at any time in the future against the Releasees, whether

known or unknown, arising out of or in any way relating to the design, manufacture, sale,

distribution, marketing, warranty, service, use, performance, installation, purchase, or in any way

relating to Pella ProLine Casement Windows, including without limitation any and all Claims for

breach of contract, breach of express or implied warranty, redhibition, strict liability, products

liability, negligence, negligent misrepresentation, violations of state consumer protection and

other statutory laws, declaratory relief, injunctive relief, unjust enrichment and/or fraud. The

Released Claims include all known and unknown claims, actions, and causes of action, and this

Agreement is expressly intended to cover and include all such claims, actions, and causes of

action, for losses or damages of any type, with the exception of personal injury claims which are

expressly not released.

        2.41. “Releasees” means (1) Defendants; (2) any predecessors and successors in

interest, any current or former parent corporations/entities, subsidiary corporations/entities and

their subcontractors, affiliates, and assigns of Defendants; (3) companies acquiring any or all of

Defendants’ assets or capital stock; (4) any of Defendants' past or present divisions, suppliers,

distributors, dealers, resellers, or sales branches; (5) current or former officers, directors,

shareholders, agents, representatives and employees of Defendants; and (6) insurers of any of the

foregoing persons or entities.

        2.42. “Retailer’s List Price” means the retail price, before any discounts, sales, special

offers or similar reductions in price, of Pella brand products established from time to time by the

Pella distributors in the list attached hereto as Exhibit 4.


                                               13 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 14 of 71 PageID #:25396



       2.43. “Sash” means the portion of a Pella ProLine Casement Window that is made up

of the glazing (glass) and the surrounding aluminum clad wood frame and which is either vented

(i.e. hinged so it may open) or fixed.

       2.44. “Settlement” means this Agreement.

       2.45. “Settlement Claim” or “Settlement Claims” means the timely submission of a

fully and properly completed Claim Form(s) to the Notice and Settlement Administrator,

including all required support. Only one Settlement Claim shall be submitted for each property

with buildings in which Pella ProLine Casement Windows were installed, regardless of how

many Eligible Claimants own or owned the property.

       2.46. “Settlement Class” means all persons in the United States who are current or

former owners of Structures containing Pella ProLine® brand aluminum clad wood casement,

awning, and/or transom windows (including 250 and 450 Series) manufactured by Pella

Corporation between January 1, 1991 and December 31, 2009.

The Settlement Class excludes:


            1. All persons who timely opt out of the Lawsuit pursuant to the terms of this

                Agreement.

            2. All persons who, individually or as a member of a class, have brought legal

                proceedings against Defendants (other than in the Lawsuit by the Named

                Plaintiffs), which, before entry of the Preliminary Approval Order in the Lawsuit

                by Named Plaintiffs, are resolved or agreed to be resolved by settlement,

                judgment, release, dismissal, or other final disposition resulting in the

                termination of the proceedings.

            3. All of Defendants’ current employees and Pella’s counsel.

                                             14 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 15 of 71 PageID #:25397



        2.47. “Settlement Class Member(s)” means the Named Plaintiffs and those persons

who are members of the Settlement Class, as set forth in the Settlement Class as defined above.

A Settlement Class Member shall not include any appointees, assignees, claims brokers, claims-

filing services, claims consultants or third-party claims organizations.

        2.48. “Settlement Fund” means the fund described in Section IV below.

        2.49. “Structure” or “Structures” means one or more buildings (including, without

limitation, residential homes or units, commercial buildings or units, storage facilities, garages,

stores, apartments, and condominiums) located on a single plot of contiguous real property in the

United States.

        2.50. “Window” or “Windows” means “Pella ProLine Casement Window” or “Pella

ProLine Casement Windows” as defined in Paragraph 2.36 above.


 III.    CONDITIONAL CERTIFICATION OF NATIONWIDE SETTLEMENT CLASS

        3.01. For the purposes of implementing this Agreement, and for no other purpose,

Defendants stipulate to the conditional certification in this Lawsuit of the nationwide Settlement

Class, as set forth in the Preliminary Approval Order.

        3.02. If for any reason this Agreement should fail to become effective, the Parties’

stipulation to conditionally certify the nationwide Settlement Class provided for in this

Agreement shall be null and void, and the Parties shall return to their respective positions in this

Lawsuit as those positions existed immediately before the execution of this Agreement.

Specifically, Defendants continue to deny the appropriateness of certifying this case as a

litigation class, and only stipulate to the certification of the Settlement Class on the terms stated

in this Agreement.



                                              15 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 16 of 71 PageID #:25398




                                IV.    SETTLEMENT AMOUNT

       4.01. Pella shall collectively dedicate a total of $25,750,000 for a common Settlement

Fund against which any Eligible Claimant may file a claim for Eligible Damage, allocated as

follows:

           1. Pella shall pay $23,750,000.00 into a fund (“Fund A”) for payment of claims for

               Eligible Damage submitted by Eligible Claimants during the Claims Period and of

               Service Awards.

           2. Pella shall reserve $2,000,000.00 (“Fund B”) for payment of claims for Eligible

               Damage submitted by Eligible Extended Period Claimants during the Extended

               Claims Period.

       4.02. In addition to the amounts paid into the Settlement Fund, Pella shall pay:

           1. Class Notice Expenses; and

           2. All amounts awarded by the Court pursuant to Paragraph 6.02 for attorneys’ fees

               and all costs claimed of any type (including but not limited to expenses and

               disbursements), all in a total amount not to exceed $9,000,000.

       4.03. Class Administration Expenses shall be paid from the Settlement Fund, Fund A.

Defendants shall not be responsible for any cost that may be incurred by, on behalf of, or at the

direction of Plaintiffs, Plaintiffs’ counsel, or Class Counsel in (a) responding to inquiries about

the Settlement, this Agreement, or the Lawsuit; (b) defending this Agreement or the Settlement

against any challenge to it; or (c) defending against any challenge to any order or judgment

entered pursuant to the Settlement and this Agreement; or (d) completing the Claims Process.

      4.04.    On or before ten (10) Days following the Effective Date, Defendants shall deposit

the amount for Fund A, $23,750,000.00, reserved for payment of claims for Eligible Damage

                                              16 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 17 of 71 PageID #:25399



submitted by Eligible Claimants during the Claims Period, into an account identified by the

Notice and Settlement Administrator.

      4.05.     Pella’s payment to the Settlement Fund provided in this Agreement will be in full

satisfaction of all Settlement Class Members’ Claims and potential Claims against Defendants.


           V.       SETTLEMENT BENEFITS TO THE SETTLEMENT CLASS

       5.01. SUMMARY OF RELIEF

           1. Settlement Class Members may seek benefits under this Agreement if they have

                suffered Eligible Damage.

           2. Settlement Fund A provides benefits for Settlement Class Members’ Eligible

                Damage, for

                    a. Settlement Class Members who have already experienced Eligible

                       Damage and have already repaired or replaced such damage; and

                    b. Settlement Class Members who have experienced Eligible Damage but

                       have yet to repair or replace such damage.

           3. Settlement Fund B provides benefits for Settlement Class Members whose Pella

                ProLine Casement Windows have not manifested any Eligible Damage but may

                do so during the Extended Claim Period.

       5.02. SUMMARY OF PROCEDURES TO SEEK BENEFITS

           1. Settlement Class Members who have already replaced or repaired Pella ProLine

                Casement Windows prior to the Direct Class Notice Date may seek cash benefits

                under this Agreement through the Claims Process by submitting a Claim Form to

                the Notice and Settlement Administrator that contains the requisite information

                listed in the Claim Form.

                                             17 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 18 of 71 PageID #:25400



         2. Settlement Class Members who have Eligible Damage that was not replaced or

            repaired prior to the Direct Class Notice Date may seek relief under this

            Agreement through the Claims Process by submitting a Claim Form to the Notice

            and Settlement Administrator that contains the requisite information listed in the

            Claim Form.

         3. Settlement Class Members who have Pella ProLine Casement Windows or

            Structures that manifest Eligible Damage after the Claims Period and during the

            Extended Claims Period may seek relief by contacting Pella’s Customer Service

            Department at 888-977-6387.

         4. For the Claims Process described in Section 5.05 below, a Settlement Class

            Member can establish Eligible Damage by providing contemporaneous

            documentation of wood deterioration damage to one or more Windows and, if

            applicable, contemporaneous documentation of water damage to surrounding

            property as described in the definition of Eligible Damage, and a statement that

            such damage was caused, materially or substantially in part, by water penetrating

            between the aluminum cladding of the window and the window sash. The Notice

            and Settlement Administrator shall determine whether the Settlement Class

            Member has Eligible Damage. The Notice and Settlement Administrator shall

            document its determinations in writing, including the type of Eligible Damage

            established and, if applicable to a claim, the amounts incurred or to be incurred to

            repair or replace such Eligible Damage.




                                          18 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 19 of 71 PageID #:25401



         5. The Parties shall be provided access to all Claim Forms, and supporting

            documentation submitted to and to be considered by the Notice and Settlement

            Administrator.

         6. The Parties shall be promptly provided copies of the Claim Form and supporting

            documentation for any fully and properly submitted claims.

         7. The Parties shall have the opportunity to review such information and provide a

            short objection thereto, which must be sent to, and reviewed by, the Notice and

            Settlement Administrator in making its determination on the claim.

         8. Determinations by the Notice and Settlement Administrator under the Claims

            Process are binding, final, and not appealable.

      5.03. SUMMARY OF LIMITATIONS

         1. Settlement Class Members are eligible to seek benefits under this Agreement only

            if they have suffered Eligible Damage. No recovery is allowed without

            satisfactory evidence of Eligible Damage.

         2. Non-recoverable damage includes, but is not limited to, (i) damage due to failure

            to follow Pella’s installation instructions; (ii) damage due to improper installation,

            or home construction; (iii) damages due to misuse, or intentional, reckless,

            accidental, and/ or negligent physical damage to a window caused directly or

            indirectly by a Settlement Class Member or other person; (iv) damage to windows

            to the extent resulting from a natural disaster including, but not limited to fire,

            hurricane, wind, flood, earthquake or earth movement; and (v) damage caused by

            interior condensation.




                                           19 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 20 of 71 PageID #:25402



         3. Cash benefits can be recovered only for actual expenditures or for actual expenses

            necessary to address the Eligible Damage.

         4. Cash benefits for Eligible Damage to or from a Window that was repaired or

            replaced more than 15 years after the Date of Sale, and cash benefits for Eligible

            Damage to or from a Window with a Date of Sale that is more than 15 years

            before the Direct Class Notice Date, subject to the provisions of Section 5.04,

            shall be limited to 25% of the actual expenditures necessary to address the

            Eligible Damage.

         5. Settlement Class Members may not obtain double recovery of damages. The

            benefits provided by this Settlement are only available for expenditures beyond

            those for which Settlement Class Members have already been compensated.

            Settlement Class Member claims must be supported by some documentation of

            unreimbursed expenditures caused by their Eligible Damage, such as installation,

            finishing, labor, and material expenses, if applicable, at least in the amount to be

            paid. This Agreement affords no benefits or compensation for claims by current

            or former owners for loss of value of a Structure because of Eligible Damage.

         6. Eligible Damage of Settlement Class Members that otherwise would be

            reimbursable under this Agreement but that is individually or collectively in

            excess of the Settlement Fund, as set forth above in Section IV, are not subject to

            payment under this Agreement. If the total amount of Settlement Class Members’

            Eligible Damage exceeds the amounts available in Settlement Fund A or

            Settlement Fund B, respectively and as applicable, then payment from the




                                          20 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 21 of 71 PageID #:25403



            Settlement Fund shall be made on a pro rata basis as set forth in Paragraph

            5.04(3), below.

         7. Any relief received under this Agreement shall not be deemed to extend the

            Windows’ warranty period. The warranty period will continue to be determined

            only by the Date of Sale of the original Windows.

      5.04. “FUND A” BENEFITS FOR ELIGIBLE DAMAGE TO PELLA PROLINE
            CASEMENT WINDOWS MANIFESTING BEFORE OR DURING THE
            CLAIMS PERIOD.

         1. Eligible Claimants who repaired or replaced Eligible Damage on or before the

            Direct Class Notice Date are, subject to the provisions of paragraphs 3 and 4 of

            this Section 5.04, entitled to receive cash for actual expenditures and for actual

            expenses necessary to address Eligible Damage to or from a Window. The cash

            award will be for the following four categories of costs: (1) the cost of the product

            (per window or sash), (2) the cost of the installation labor (per window or sash),

            (3) the cost of finishing (per window or sash), and (4) the cost to repair damage to

            other property. For Eligible Damage to or from a Window that was repaired or

            replaced within 15 years after the Date of Sale, subject to the provisions of

            paragraphs 3 and 4 of this Section 5.04, the cash award will be the sum of these

            four categories of costs. For Eligible Damage to or from a Window that was

            repaired or replaced more than 15 years after the Date of Sale, subject to the

            provisions of paragraphs 3 and 4 of this Section 5.04, the cash award will be 25%

            of the sum of these four categories of costs. The amount payable for each of the

            four categories of costs shall be determined as follows:

                   a. If a Claimant submits a Claim Form for actual costs previously
                      incurred to repair or replace Eligible Damage, and the Notice and

                                          21 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 22 of 71 PageID #:25404



                       Settlement Administrator is able to identify and/or verify how much of
                       those costs were for the actual cost of replacement product,
                       installation, finishing, and damage to other property based on the
                       invoices, receipts and/or other repair documentation submitted, then
                       such proof shall be used to determine the payment and allocation of
                       such Eligible Damage to the categories above.

                   b. If a Claimant submits a Claim Form for actual costs previously
                      incurred to repair or replace Eligible Damage, and the Notice and
                      Settlement Administrator is able to identify and/or verify that the
                      amounts were actual costs incurred for Eligible Damage but the Notice
                      and Settlement Administrator is unable to identify and/or verify how
                      much of those costs were separately incurred for replacement product,
                      installation, finishing, and/or damage to other property based on the
                      invoices, receipts, and/or other repair documentation submitted, then
                      the Parties agree that such costs should be deemed allocated for
                      purposes of the above-stated categories according to the following
                      percentages and paid on that basis.

                           (i)    If the Eligible Damage was repaired or replaced within 10
                                  years after the Date of Sale, then costs shall be deemed
                                  allocated as follows:
                                                         If damage to          If no damage to
                                                         other property        other property

                                  1.   cost of product:         39%              55%
                                  2.   cost of installation:    23%              34%
                                  3.   cost of finishing:        8%              11%
                                  4.   cost to repair damage
                                       to other property:       30%              0%

                           (ii)   If the Eligible Damage was repaired or replaced more than
                                  10 years after the Date of Sale, then costs shall be deemed
                                  allocated as follows:
                                                         If damage to          If no damage to
                                                         other property        other property

                                  1.   cost of product:         27%              39%
                                  2.   cost of installation:    33%              46%
                                  3.   cost of finishing:       10%              15%
                                  4.   cost to repair damage
                                       to other property:       30%              0%

         2. Eligible Claimants who have Eligible Damage to or from a Window that has

            manifested but has not yet been repaired or replaced as of the Direct Class Notice

                                          22 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 23 of 71 PageID #:25405



            Date are, subject to the provisions of paragraphs 3 and 4 of this Section 5.04,

            entitled to receive the following benefits:

                   a. If the Eligible Damage involves a Window with a Date of Sale that is
                      10 years or less before the Direct Class Notice Date, then Eligible
                      Claimants are entitled to receive replacement product from Pella to
                      repair or replace Eligible Damage, as well as amounts from Fund A for
                      actual expenses necessary to repair or replace the Eligible Damage for:

                           (1)     cost of installation labor;
                           (2)     cost of finishing; and
                           (3)     cost to repair damage to other property.

                   b. If the Eligible Damage involves a Window with a Date of Sale that is
                      more than 10 years but within 15 years before the Direct Class Notice
                      Date, then Eligible Claimants are entitled to receive amounts from
                      Fund A for actual expenses necessary to repair or replace the Eligible
                      Damage for:

                           (1)     cost of product;
                           (2)     cost of installation labor;
                           (3)     cost of finishing; and
                           (4)     cost to repair damage to other property.

                   c. If the Eligible Damage involves a Window with a Date of Sale that is
                      more than 15 years before the Direct Class Notice Date, then Eligible
                      Claimants are entitled to receive amounts from Fund A for 25% of
                      actual expenses necessary to repair or replace the Eligible Damage for:

                           (1)     cost of product;
                           (2)     cost of installation labor;
                           (3)     cost of finishing; and
                           (4)     cost to repair damage to other property.

                   d. If a Claimant submits a Claim Form for actual costs necessary to repair
                      or replace Eligible Damage, and the Notice and Settlement
                      Administrator is able to identify and/or verify how much of those costs
                      are for the cost of replacement product, installation, finishing, and
                      damage to other property based on the quotes, invoices, receipts and/or
                      other repair documentation submitted, then such proof shall be used to
                      determine the payment and allocation of such Eligible Damage to the
                      categories above.

                   e. If a Claimant submits a Claim Form for actual costs necessary to repair
                      or replace Eligible Damage, and the Notice and Settlement

                                          23 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 24 of 71 PageID #:25406



                        Administrator is able to identify and/or verify that the amounts are for
                        actual costs necessary to repair Eligible Damages but the Notice and
                        Settlement Administrator is unable to identify and/or verify how much
                        of those costs are for the cost of replacement product, installation,
                        finishing, and/or damage to other property based on the quotes,
                        invoices, receipts, and/or other repair documentation submitted, then
                        the Parties agree that such costs should be deemed allocated for
                        purposes of the above-stated categories according to the following
                        percentages and paid on that basis.

                            (i)    If the Eligible Damage involves a Window with a Date of
                                   Sale that is 10 years or less before the Direct Class Notice
                                   Date, then costs shall be deemed allocated as follows:
                                                           If damage to         If no damage to
                                                           other property       other property

                                   1.   cost of product:          39%              55%
                                   2.   cost of installation:     23%              34%
                                   3.   cost of finishing:         8%              11%
                                   4.   cost to repair damage
                                        to other property:        30%              0%

                            (ii)   If the Eligible Damage involves a Window with a Date of
                                   Sale that is more than 10 years before the Direct Class
                                   Notice Date , then costs shall be deemed allocated as
                                   follows:
                                                          If damage to         If no damage to
                                                          other property       other property

                                   1.   cost of product:          27%              39%
                                   2.   cost of installation:     33%              46%
                                   3.   cost of finishing:        10%              15%
                                   4.   cost to repair damage
                                        to other property:        30%              0%

         3. If Fund A is not sufficient to pay all Eligible Claimants for the full amount of

            Eligible Damage, Eligible Claimants shall be paid on the Claims Payment Date on

            a pro rata basis up to available amounts in Fund A in a manner to be determined

            by the Notice and Settlement Administrator.

         4. Distribution of Unclaimed Funds: If there are amounts left remaining in Fund A

            after the Notice and Settlement Administrator makes awards for Eligible Damage

                                           24 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 25 of 71 PageID #:25407



            to Eligible Claimants per the terms of this Agreement, those amounts shall be

            distributed as follows:

                       a. First, the Notice and Settlement Administrator will use amounts

                           remaining in Fund A to reimburse Defendants for the Class Notice

                           Expenses; no portion of any amounts remaining in Fund A under

                           this paragraph will otherwise be returned or reimbursed to

                           Defendants; and

                       b. Second, and after completing the distribution set forth in Paragraph

                           5.04(4)(a), the Notice and Settlement Administrator will use

                           amounts remaining in Fund A to increase the recovery, on a pro

                           rata basis, of those Eligible Claimants whose claims were limited

                           to 25% of actual expenditures necessary to address Eligible

                           Damage under Sections 5.03(4), 5.04(1) and 5.04(2)(c) above.

                       c. Third, and after the distributions set forth in Paragraph 5.04(4)(a)

                           and 5.04(4)(b), in a manner directed by the Court upon petition by

                           the Parties.

      5.05. CLAIMS PROCESS FOR “FUND A”

         1. During the Claims Period, the Notice and Settlement Administrator shall establish

            and staff a telephone system to answer a toll-free telephone number, to return

            calls and to respond to inquiries by Settlement Class Members regarding the

            Settlement or the Agreement. The Class Notice shall direct persons who believe

            they may be Settlement Class Members to (1) call the toll-free number to request

            a copy of the long form notice, and a Claim Form be sent to them via regular


                                          25 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 26 of 71 PageID #:25408



            mail, facsimile, or email; or (2) visit the website

            “www.pellawindowsettlement.com”, which also shall be established prior to the

            Direct Class Notice Date, where such information may also be accessed and/or

            downloaded.

         2. Submitting claims. Settlement Class Members must submit to the Notice and

            Settlement Administrator a complete Claim Form provided for in this Agreement

            together with the required documentation on or before the Claim Deadline.

         3. Settlement Class Members must submit documentation and/or photographs for

            each Pella ProLine Casement Window at issue, as specified in this Agreement and

            the Claim Form, sufficient to show:

                  a.    That each window at issue is, in fact, a Pella ProLine Casement

                        Window;

                  b.    The dates when the Pella ProLine Casement Window was

                        manufactured or sold and installed;

                  c.    The damage is consistent with having been caused by water

                        penetrating between the aluminum cladding and Sash of the window;

                  d.    Verification that the Settlement Class Member is/was the owner of

                        the property at issue during the period when the Pella ProLine

                        Casement Windows were/need to be repaired or replaced (examples

                        of sufficient verification of property ownership include, without

                        limitation, a copy of property tax bills for the relevant year, a copy of

                        property deeds or deeds of trust, a copy of a declaration page from a

                        policy of title or homeowners insurance, a copy of mortgage


                                           26 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 27 of 71 PageID #:25409



                       statement, a copy of mortgage payment coupon, other documentation

                       for the relevant year demonstrating ownership for the relevant year,

                       including the property address). If the Settlement Class Member is

                       the owner of an individual living unit such as a condominium or

                       townhouse, the Settlement Class Member must also provide

                       satisfactory proof that he or she has/had the maintenance obligation

                       during the period when the Pella ProLine Casement Windows

                       were/need to be repaired or replaced for the types of damage

                       described in this Agreement (an example of satisfactory proof would

                       be a copy of the Covenants, Conditions and restrictions governing the

                       condominium or townhouse);

                  e.   If any Eligible Damage already has been repaired or replaced, proof

                       of actual costs of such repair or replacement, including copies of

                       receipts, cancelled checks, and credit or debit card records for costs

                       for labor, window product, paint, wallboard, or other materials

                       necessary to repair or replace the damage; copies of receipts or other

                       financial records showing the amount of expenditures incurred by the

                       Settlement Class Member to repair or replace the damage; and

                       documentation showing when the repair or replacement was made. If

                       necessary to account for actual costs incurred but not reflected in

                       documentation available to show the repair or replacement, a

                       summary of the repair or replacement performed and costs of such




                                        27 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 28 of 71 PageID #:25410



                       repair or replacement (e.g., costs for labor, window product, paint,

                       wallboard, or other materials necessary to repair the damage);

                  f.   If any Eligible Damage to the Structure is evident but has not yet

                       been repaired or replaced, proof of the costs to repair or replace such

                       damage (such as a qualified contractor’s written estimate), including

                       costs for replacement product, for labor for installation, for labor for

                       finishing (i.e. painting, staining or varnishing the exposed wood

                       portion of the window), for paint, stain, or varnish, for wallboard, or

                       other materials necessary to repair the damage to the Structure;

                  g.   Acknowledgement that no reimbursement, compensation, settlement,

                       or adjudication from Defendants, a Pella distributor, a contractor or

                       any other third party (whether or not related to Defendants or a Pella

                       distributor) already has occurred regarding the Pella ProLine

                       Casement Windows at issue; or alternatively stating the amount of

                       reimbursement, compensation, settlement, or adjudication the

                       Settlement Class Member received.

         4. Processing Claims. Processing of each Settlement Claim by the Notice and

            Settlement Administrator shall commence when the Notice and Settlement

            Administrator receives a Claim Form from a Settlement Class Member with the

            information, documents, and photographs required by the Claim Form and this

            Agreement. The Notice and Settlement Administrator shall advise, in writing,

            any Settlement Class Member who fails to submit all information, documents, or

            photographs required by the Claim Form and this Agreement and request the


                                         28 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 29 of 71 PageID #:25411



            Settlement Class Member to supply the missing information, documents, or

            photographs, by sending the Settlement Class Member a Notice of Incomplete

            Claim. Any request by the Notice and Settlement Administrator for additional

            information, documents, or photographs must be in writing and sent to the

            Settlement Class Member within 30 Days after the Notice and Settlement

            Administrator makes the determination that the Settlement Class Member failed

            to submit the necessary information, documentation, and/or photographs.

         5. If a Settlement Class Member does not provide the Notice and Settlement

            Administrator with information, documents, or photographs requested as set forth

            in this Agreement, within sixty (60) Days after the Notice and Settlement

            Administrator sends such request, (1) the Settlement Claim will be considered

            denied to the extent the Settlement Class Member has failed to supply the missing

            information, documents, or photographs, without prejudice to the right of the

            Settlement Class Member to re-file a Claim Form within the Claims Period, and

            (2) the Notice and Settlement Administrator will send the Settlement Class

            Member a Notice Of Denied Claim. No Claim Form submitted for the first time

            after the expiration of the Claims Period will be considered or processed for

            benefits under this Agreement.

         6. Parties’ Objection and/or Inspection Rights.

            a. The Notice and Settlement Administrator shall promptly provide Lead Class

                Counsel and Defendants with copies of the Claim Form and supporting

                documentation submitted with each Settlement Claim upon request within five




                                         29 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 30 of 71 PageID #:25412



               (5) Days after determining that the Claim Form was fully and properly

               submitted.

            b. Any Party and/or its representatives shall have thirty (30) Days from the

               Party’s receipt of such Claim Form and supporting documentation to notify

               the Notice and Settlement Administrator of any objections to that Settlement

               Class Member’s Settlement Claim. A separate written objection, no more

               than five (5) pages in length, must be made for each Settlement Claim to

               which objections are posed and must detail with specificity the basis for any

               objections and identify with specificity the Claim Form responses and/or

               supporting documentation to which objections are raised. Any objections to a

               Settlement Claim must be separately mailed to the Notice and Settlement

               Administrator via certified mail, return receipt requested and post marked no

               later than thirty (30) Days from the date that the party received the Claim

               Form and supporting documentation for that Settlement Claim. The party

               making the objection must bear all of its own costs incurred in reviewing any

               Settlement Claim materials and/or in making any objections, including

               without limitation any attorneys’ fees and costs and mailing costs. To the

               extent that Defendants object to a Settlement Claim, Defendants shall

               undertake reasonable efforts to provide information or documents in their

               possession or control which would assist the Notice and Settlement

               Administrator in assessing the disputed Settlement Claim.

            c. The Notice and Settlement Administrator shall review and take into

               consideration any timely submitted objections before making a good-faith


                                        30 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 31 of 71 PageID #:25413



                 determination on whether and to what extent the Settlement Class Member

                 has established Eligible Damage and entitlement to benefits under the terms of

                 this Agreement. The Notice and Settlement Administrator’s determination of

                 the Settlement Claim shall be final and binding on the Settlement Class

                 Member and Parties.

         7. Resolving Settlement Claims. For Settlement Class Members whose Settlement

              Claims meet the terms of this Agreement, the Notice and Settlement

              Administrator will, after the Effective Date, send a Notice of Approved Claim,

              together with a check in the amount of any cash payment that is awarded, and/or a

              statement describing any benefits or cash payments for which the Settlement

              Class Member may be eligible along with an explanation of how to redeem and/or

              request such benefits and/or cash payments. The Notice and Settlement

              Administrator’s decisions shall be final.

         8. To Settlement Class Members whose Settlement Claims do not meet the terms of

              this Agreement, the Notice and Settlement Administrator will send them a Notice

              of Denied Claim. The Notice and Settlement Administrator’s decisions shall be

              final. Settlement Class Members who submit a Claim Form but do not satisfy the

              eligibility criteria of this Agreement will not recover benefits under this

              Settlement.

      5.06.   “FUND B” BENEFITS FOR ELIGIBLE DAMAGE TO PELLA PROLINE
              CASEMENT WINDOWS MANIFESTING AFTER THE CLAIMS
              PERIOD.

         1. Settlement Class Members who have Windows or Structures that manifest

              Eligible Damage after the Claims Period ends are eligible to make a claim for


                                            31 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 32 of 71 PageID #:25414



            warranty and PSEP Benefits (to be paid from Fund B) under the terms of the Pella

            Limited Warranty and PSEP.

         2. During the Extended Claims Period, Defendants shall pay any fees or costs from

            the Notice and Settlement Administrator from Fund B.

         3. If during the Extended Claims Period, Defendants provide benefits, as defined by

            5.06(1), up to the total amount of Fund B, Defendants shall have no further

            obligation to provide benefits to Settlement Class Members. Pella Corporation,

            however, agrees to fully honor, and thus pay for, any warranty claims (not PSEP

            claims) through the year 2019 for Settlement Class Members that still have valid

            warranty claims. Pella Corporation may, at its sole discretion, elect to continue to

            provide PSEP Benefits to some or all Settlement Class Members.

         4. If, after the end of the Extended Claims Period, there are unexpended amounts

            remaining in Fund B, then those amounts shall revert to Pella.

      5.07. CLAIMS PROCESS FOR “FUND B”

         1. For Extended Period Claimants who have Eligible Damage and otherwise meet

            the eligibility criteria of this Agreement and who seek relief as provided under

            this Agreement within the Extended Claims Period, Defendants will take steps

            that provide Settlement Class Members who contact Pella Customer Service

            Department at 888-977-6387, benefits under the Pella Limited Warranty and/or

            PSEP Benefits, which will be administered by Defendants directly and not the

            Notice and Settlement Administrator.

         2. Extended Claims Period claims may be made for homes that had previous claims

            for past damages, but such claims shall not include Windows that already were

            the subject of a prior claims submission.
                                           32 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 33 of 71 PageID #:25415



           3. During the Extended Claims period, Defendants shall be responsible for

               determining whether an Extended Period Claimant has experienced qualifying

               Eligible Damages.

VI.    ATTORNEYS’ FEES, COSTS AND PAYMENT TO CLASS REPRESENTATIVES
       6.01. Released Claims include, without limitation to the scope of the release defined in

§ 2.40 above, any and all claims for attorneys’ fees, costs, expenses, or disbursements incurred

by Lead Class Counsel, Class Counsel, any Settlement Class Member’s counsel, and/or any law

firms who have entered appearances for Settlement Class Members or Named Plaintiffs in

connection with this Lawsuit.

       6.02. By the deadline established by the Preliminary Approval Order, Lead Class

Counsel, Class Counsel, any Settlement Class Member’s counsel, and/or any law firms who have

entered appearances for Settlement Class Members or Named Plaintiffs shall file an Application

(as defined above) asking the Court for an award of attorneys’ fees, costs, expenses, and

disbursements in the Lawsuit totaling no more than nine million dollars ($9 Million). Defendants

will not object to or oppose an aggregate and total recovery of up to and including nine million

U.S. dollars ($9 Millions) for all attorneys’ fees, costs, expenses, and disbursements incurred.

Counsel for any Settlement Class Member petitioning for fees, costs, expenses or disbursements

must be made by the deadline established by the Preliminary Approval Order. Defendants will

have no obligation to pay any attorneys representing the Class or any Settlement Class Members

in this Lawsuit more than the aggregate amount of nine million ($9 Million) for attorneys’ fees,

costs, expenses, and disbursements in this Lawsuit.

       6.03. Any objector electing to be represented by counsel shall be solely responsible for

any fees, costs, expenses or disbursements incurred or charged by such counsel, and in no event

shall the Parties or Class Counsel be responsible for such fees, costs, expenses or disbursements.

The Court may, at its discretion, award fees, costs, expenses, or disbursements to an attorney

hired by a Settlement Class Member for the purpose of objecting to this Agreement; any such


                                             33 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 34 of 71 PageID #:25416




award shall be paid from the nine million ($9 Million) allocated in this Agreement for the fee

and cost Application (as defined above). The Court shall require that any attorney hired by a

Settlement Class Member for the purpose of objecting to the proposed Settlement or to the

Application, and who intends to make an appearance at the Fairness Hearing, provide to Lead

Class Counsel and counsel for Defendants and to file with the Clerk of the Court, in this Lawsuit,

a notice of intention to appear no later than 120 Days from entry of the Preliminary Approval

Order or as the Court may otherwise direct.

       6.04. The Named Plaintiffs will ask the Court to award each of them a “Service Award”

to compensate Named Plaintiffs for the time, effort, expense, and service that they personally

invested in the Lawsuit in the amount of up to $25,000 per Named Plaintiff (as defined above),

as approved by the Court and to be paid out of Fund A, described above, subject to Court

approval. The receipt of a Service Award is not in any way conditioned on a Named Plaintiff’s

support of this Agreement, and each Named Plaintiff agrees to enter into this Agreement even if

the Court declines to award any amount as a Service Award.

       6.05. Any Service Awards and awards of attorneys’ fees, costs, expenses, and

disbursements sought pursuant to this Agreement are subject to and dependent upon the Court’s

approval. However, this Settlement is not dependent or conditioned upon the Court’s approving

any requests for payments sought pursuant to this Agreement, or awarding the particular amounts

sought by requests made pursuant to this Agreement. In the event the Court declines or adjusts

any counsel’s fee, cost, expense and disbursement Application, this Agreement will continue to

be effective and enforceable by the Parties.

       6.06.    Defendants agree that on or before ten (10) Days following the Effective Date,

Defendants shall deposit the sum awarded and approved by the Court for attorneys’ fees, costs,

expenses and disbursements sought under this Agreement, up to nine million dollars ($9 Million)

into an account identified by Lead Class Counsel. Upon payment into the account identified by

Lead Class Counsel as provided by this Agreement, Defendants shall have no liability in any


                                               34 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 35 of 71 PageID #:25417




form arising from any Application for attorneys’ fees, costs, expenses or disbursements, or

arising from the disbursement of funds for attorneys’ fees, costs, expenses, and disbursements

from Lead Class Counsel’s account.

                               VII.   SETTLEMENT APPROVAL


       7.01. PRELIMINARY APPROVAL. As soon as practicable after the execution of

this Agreement, but at the latest within twenty-eight (28) Days, the Parties shall jointly move the

Court to enter the Preliminary Approval Order attached hereto as Exhibit 3. The Preliminary

Approval Order shall specifically include provisions that:

           1. Preliminarily approve the Settlement and find that this Agreement is fair,

               reasonable, and adequate to the Settlement Class.

           2. Conditionally certify the Settlement Class for the purpose of effectuating the

               Settlement.

           3. Designate Named Plaintiffs as the representatives of the Settlement Class.

           4. Designate Class Counsel as counsel for the Settlement Class.

           5. Set a date for the Final Approval Hearing no later than 210 Days after the entry

               date of the Preliminary Approval Order.

           6. Regarding class notice,

                     a. approve the form and content of the Class Notice attached as Exhibit

                        2.1;

                     b. direct the Notice and Settlement Administrator to mail the Class Notice

                        no later than thirty (30) Days after the entry of the Preliminary Approval

                        Order to all Settlement Class Members for whom the parties have



                                             35 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 36 of 71 PageID #:25418



                    addresses, using first-class mail, and having first updated the addresses

                    using the National Change of Address database;

                 c. direct the Notice and Settlement Administrator to post the Class Notice

                    and this Agreement, along with other documents as agreed to by the

                    Parties, on a website with the domain name

                    “www.pellawindowsettlement.com” within ten (10) Days of the entry of

                    the Preliminary Approval Order;

                 d. direct the Notice and Settlement Administrator to prepare a notice for

                    publication, to be published within forty-five (45) Days of the entry of

                    the Preliminary Approval Order in the publications upon which the

                    Parties and the Notice and Settlement Administrator mutually agree.

                 e. direct the Notice and Settlement Administrator to file proof of mailing of

                    the Class Notice and proof of compliance with the Notice Plan at or

                    before the Final Approval Hearing, along with the Opt-Out List;

                 f. direct Defendants to file with the Court a declaration of compliance with

                    the notice requirements, including the CAFA notice requirements, after

                    notice has been given; and

                 g. find that the Class Notice and the Notice Plan to be implemented

                    pursuant to this Agreement are reasonable, constitute the best notice

                    practicable under the circumstances, constitute due and sufficient notice

                    of the Settlement and the matters set forth in said notice to all persons

                    entitled to receive notice, and fully satisfy the requirements of due

                    process and of Fed. R. Civ. P. 23.


                                         36 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 37 of 71 PageID #:25419



         7. Regarding requests for exclusion, or “opt-outs”, require that:

                  a. Any member of the Settlement Class who desires to request exclusion

                      from the Settlement Class submit to the Notice and Settlement

                      Administrator an appropriate, complete, and timely request for exclusion

                      or opt-out on or before a date set by the Court that is 120 Days from

                      entry date of the Preliminary Approval Order;

                  b. Any request for exclusion or opt-out be exercised individually by a

                      Settlement Class Member, not as or on behalf of a group, class, or

                      subclass, not by any appointees, assignees, claims brokers, claims filing

                      services, claims consultants or third-party claims organizations; except

                      that such exclusion request may be submitted by a Settlement Class

                      Member’s attorney on an individual basis;

                  c. Any Settlement Class Member who does not submit a timely, written

                      request for exclusion or opt-out from the Settlement Class will be bound

                      by all proceedings, orders, and judgments in the Lawsuit.

         8. Regarding objections and requests to intervene, require that:

                  a. Any Settlement Class Member that has not submitted a timely request

                      for exclusion from the Settlement Class, and each governmental entity,

                      that wishes to object to the fairness, reasonableness, or adequacy of this

                      Agreement or any term or aspect of the proposed Settlement, or to

                      intervene in the Lawsuit, must provide to the Notice and Settlement

                      Administrator (who shall forward it to Lead Class Counsel and counsel

                      for Defendants) and file with the Court no later than 120 Days from


                                          37 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 38 of 71 PageID #:25420



                    entry date of the Preliminary Approval Order a statement of the

                    objection or motion to intervene, including any support the Settlement

                    Class Member or governmental entity wishes to bring to the Court’s

                    attention and all evidence the Settlement Class Member or governmental

                    entity wishes to introduce in support of his or her objection or motion, or

                    be forever barred from objecting or moving to intervene. Such a

                    statement must (1) be made in writing, including a heading that refers to

                    the Lawsuit by name and number; (2) contain the objector’s or putative

                    intervener’s full name and current address; (3) declare that the objector

                    or putative Settlement Class Member intervener currently owns, or

                    formerly owned, a Structure containing a Pella ProLine Casement

                    Window(s); (4) provide a statement of the objector’s or intervener’s

                    specific objections to any matter before the Court and the grounds and

                    arguments for the objection or request to intervene; (5) include all

                    documents and other writings the objector wishes the Court to consider

                    and describe any and all evidence the objecting or intervening

                    Settlement Class Member or governmental entity may offer at the Final

                    Approval Hearing, including but not limited to, the names and expected

                    testimony of any witnesses; (6) be signed and dated by the objector or

                    intervenor, and (7) be filed with the Court and served on the Notice and

                    Settlement Administrator, Lead Class Counsel, and counsel for

                    Defendants on or before a date set by the Court that is no later than 120

                    Days from the entry date of the Preliminary Approval Order. Any


                                        38 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 39 of 71 PageID #:25421



                    papers not filed and served in the prescribed manner and time will not be

                    considered at the Final Approval Hearing, and all objections not made in

                    the prescribed manner and time shall be deemed waived;

                 b. Any Settlement Class Member who objects or requests to intervene shall

                    make themselves available to be deposed by Class Counsel and counsel

                    for Defendants in the county of the objector’s or putative intervener’s

                    residence within thirty (30) Days of service of his or her timely written

                    objection or motion to intervene;

                 c. Any objections or requests to intervene by a Settlement Class Member

                    must be exercised individually by a Settlement Class Member, not as or

                    on behalf of a group, class, or subclass, not by any appointees, assignees,

                    claims brokers, claims filing services, claims consultants or third-party

                    claims organizations; except that such objections or requests may be

                    submitted by a Settlement Class Member’s attorney on an individual

                    basis;

                 d. Any member of the Settlement Class or governmental entity, or their

                    respective counsel, that desires to appear in person at the Final Approval

                    Hearing for purposes of objecting to the Settlement or intervening in the

                    Lawsuit, file with the Court and serve on Lead Class Counsel and

                    counsel for Defendants a notice of appearance in the Lawsuit, in

                    addition to simultaneously filing and serving with the written objections

                    or intervention requests described above that also contains a statement of

                    desire to appear personally at the Final Approval Hearing for purposes


                                        39 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 40 of 71 PageID #:25422



                      of objecting to the Settlement, on or before a date set by the Court that is

                      no later than 120 Days from the entry date of the Preliminary Approval

                      Order;

                  e. Any responses to objections or motions to intervene must be filed with

                      the Court and served upon Lead Class Counsel and counsel for

                      Defendants on or before a date set by the Court that is no later than 180

                      Days from the entry date of the Preliminary Approval Order;

         9. Regarding attorneys’ fees, costs and expenses, require that:

                  a. Lead Class Counsel, Class Counsel, any Settlement Class Member’s

                      counsel, and/or law firms who have entered appearances for Settlement

                      Class Members or Named Plaintiffs, must file and serve their

                      Application(s) on or before a date set by the Court that is no later than

                      90 Days from the entry date of the Preliminary Approval Order;

                  b. Requests for Service Awards must be filed and served on or before a

                      date set by the Court that is no later than 90 Days from the entry date of

                      the Preliminary Approval Order.

                  c. Any objection to Lead Class Counsel’s, Class Counsel’s, and any

                      Settlement Class Member’s counsel, and/or law firms who have entered

                      appearances for Settlement Class Member’s or Named Plaintiffs’

                      Application(s) be filed with the Court and served on Class Counsel and

                      counsel for Defendants on or before a date set by the Court that is no

                      later than 120 days from the entry date of the Preliminary Approval

                      Order;


                                           40 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 41 of 71 PageID #:25423



                  d. Lead Class Counsel, Class Counsel, any Settlement Class Member’s

                     counsel, and/or law firms who have entered appearances for Settlement

                     Class Members or Named Plaintiffs must file and serve any reply in

                     support of their Application(s) on or before a date set by the Court that is

                     no later than 150 days from the entry date of the Preliminary Approval

                     Order;

         10. Regarding Settlement Claims, require that all Claim Forms from Settlement Class

            Members must be either received by the Notice and Settlement Administrator or

            postmarked on or before the Claim Deadline set by the Court;

         11. Designate KCC LLC or a similarly qualified firm as the Notice and Settlement

            Administrator and instruct the Notice and Settlement Administrator to perform the

            functions specified in this Settlement Agreement, including:

                  a. Implement the Notice Plan;

                  b. Receive, evaluate, and either approve as meeting the requirements of

                     this Agreement or disapprove as failing to meet those requirements,

                     Claim Forms sent by Settlement Class Members seeking to receive

                     benefits provided for in this Agreement, all in accordance with this

                     Agreement;

                  c. Provide to Defendants and Lead Class Counsel respectively true and

                     accurate lists of the names and addresses of all Settlement Class

                     Members who have submitted Claim Forms and whose Claim Forms the

                     Notice and Settlement Administrator has determined to be (i) complete

                     and valid or (ii) incomplete or invalid;


                                          41 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 42 of 71 PageID #:25424



                 d. Send to each Settlement Class Member who has submitted a Claim Form

                    that the Notice and Settlement Administrator has determined not to be a

                    valid Settlement Claim, and to Lead Class Counsel and Defendants’

                    counsel, a Notice of Denied Claim;

                 e. Send to each Settlement Class Member who has submitted a Claim Form

                    that the Notice and Settlement Administrator has determined to be a

                    complete and valid Settlement Claim for which the appropriate relief is

                    determined under the terms of this Agreement, a Notice of Approved

                    Claim;

                 f. Process requests for exclusion from the Settlement in accordance with

                    the terms of this Agreement;

                 g. Before mailing the Class Notice establish a toll-free telephone number

                    that Settlement Class Members can call and which contains recorded

                    answers to frequently asked questions, along with an option permitting

                    callers to speak to live operators or to leave messages in a voicemail

                    box, to request additional Claim Forms or additional information

                    regarding the Settlement; and

                 h. Within thirty (30) Days after the payment of valid Settlement Claims for

                    monetary compensation by the Notice and Settlement Administrator,

                    provide (i) to Defendants’ counsel and Lead Class Counsel a statement

                    of the total number of Settlement Claims submitted, the total number of

                    Settlement Claims determined to be valid, the total dollar amount paid to

                    Settlement Class members pursuant to the Agreement, the total dollar


                                        42 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 43 of 71 PageID #:25425



                      amount paid to Settlement Class Members for each category of benefits

                      for both sash and full units (product, installation, finishing, other

                      property) and (ii) to Defendants’ counsel all original Claim Forms and

                      supporting documentation for each Settlement Claim determined to be

                      valid pursuant to this Agreement, with a copy set to Lead Class Counsel.

         12. Preliminarily enjoin all Settlement Class Members and their legally authorized

            representatives, unless and until they have timely and properly excluded

            themselves from the Settlement Class from:

                  a. Filing, commencing, prosecuting, intervening in, or participating as

                      plaintiff, claimant, or class member in any other lawsuit or

                      administrative, regulatory, arbitration, or other proceeding in any

                      jurisdiction based on, relating to, or arising out of the Claims and causes

                      of action, or the facts and circumstances at issue, in the Lawsuit and/or

                      the Released Claims;

                  b. Filing, commencing, or prosecuting a lawsuit or administrative,

                      regulatory, arbitration, or other proceeding as a class action on behalf of

                      any Settlement Class Member who has not timely excluded his or herself

                      (including by seeking to amend a pending complaint to include class

                      allegations or seeking class certification in a pending action), based on,

                      relating to, or arising out of the Claims and causes of action, or the facts

                      and circumstances at issue, in the Lawsuit and/or the Released Claims;

                      and




                                           43 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 44 of 71 PageID #:25426



                     c. Attempting to effect an opt-out of a class of individuals in any lawsuit or

                         administrative, regulatory, arbitration, or other proceeding based on,

                         relating to or arising out of the Claims and causes of action, or the facts

                         and circumstances at issue, in the Lawsuit and/or the Released Claims.

           13. Adopt any additional provisions agreeable to the Parties that might be necessary

               to implement the terms of this Agreement and the proposed Settlement.

       7.02. FINAL APPROVAL. At the Final Approval Hearing the Parties will jointly

request the Court to enter a Final Approval Order. The Parties agree to cooperate in drafting a

proposed Final Approval Order at the appropriate time. The Final Approval Order shall

specifically include provisions that:

           1. Grant final approval of the certification of the Settlement Class, designate the

               Named Plaintiffs as the representatives of the Settlement Class, and designate

               Class Counsel as counsel for the Settlement Class;

           2. Grant final approval of the Settlement and this Agreement as fair, reasonable, and

               adequate to the Settlement Class as demonstrated by an analysis of the criteria

               described in Reynolds v. Beneficial Nat. Bank, 288 F.3d 277 (7th Cir. 2002) and

               in accord with the requirements of due process and Fed. R. Civ. P. 23;

           3. Adjudge that the Class Notice and Notice Plan implemented for the Settlement

               Class Members were performed in a reasonable manner, constituted the best

               notice practicable under the circumstances, constituted due and sufficient notice

               of the Lawsuit and the Settlement, and fully satisfied the requirements of due

               process and Fed. R. Civ. P. 23;




                                              44 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 45 of 71 PageID #:25427



         4. Order the dismissal with prejudice of all claims, causes of action, and counts

            alleged in the Lawsuit relating to Pella ProLine Casement Windows, and

            incorporate by reference the releases and covenant not to sue stated in this

            Agreement, with each of the Parties to bear it’s or his own costs and attorneys’

            fees, except as provided in this Agreement;

         5. Provide for the release of all Released Claims and permanently enjoin the

            Settlement Class Members from asserting, filing, maintaining, or prosecuting any

            of the Released Claims in the future;

         6. Having heard and considered any and all claims for attorneys’ fees, costs,

            expenses, and disbursements by Lead Class Counsel, any Settlement Class

            Member’s counsel, and/or law firms who have entered appearances for Settlement

            Class Members or Named Plaintiffs, authorize and direct the payment by

            Defendants, at the time set forth in the Agreement, into an account designated by

            Lead Class Counsel, for any such claim of attorneys’ fees, costs, expenses, and

            disbursements approved by this Court, and the Final Approval Order shall

            determine the extent of Defendants’ obligation for the payment of attorneys’ fees,

            costs, expenses, and disbursements; and shall provide that Defendants have no

            obligation for any attorneys’ fees, costs, expenses, or disbursements to any

            counsel, any law firm, any party, or any Settlement Class Member beyond that

            awarded in the Final Approval Order and consistent with the terms of this

            Agreement;




                                          45 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 46 of 71 PageID #:25428



         7. Authorize and direct the payment of $23,750,000.00 by Defendants to create Fund

            A, at the time set forth in the Agreement, into an account identified by the Notice

            and Settlement Administrator, to be distributed as set forth in the Agreement;

         8. Preserve the Court’s continuing jurisdiction over the administration of the

            Settlement and enforcement of this Agreement;

         9. Determine that the Agreement and Settlement provided for herein, and any

            proceedings taken pursuant thereto, are not, and should not in any event be

            offered, received, or construed as evidence of, a presumption of, concession of, or

            an admission by any Defendant of liability or non-liability or of the certifiability

            or non-certifiability of a litigation class, or of any alleged misrepresentation or

            omission in any statement or written document approved or made by any

            Defendant; provided, however, that reference may be made to this Agreement and

            the Settlement provided for herein in such proceedings as may be necessary to

            effectuate the provisions of this Agreement, as further set forth in this Agreement;

         10. Approve the Opt-Out List and determine that the Opt-Out List is a complete list of

            all Settlement Class Members who have timely and properly requested exclusion

            from the Settlement Class and, accordingly, shall neither share in nor be bound by

            the Final Approval Order and Judgment;

         11. Permanently enjoin all Settlement Class Members and their legally authorized

            representatives, unless they have timely and properly excluded themselves from

            the Settlement Class, from:

                  a. Filing, commencing, prosecuting, intervening in, or participating as

                      plaintiff, claimant, or class member in any other lawsuit or


                                           46 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 47 of 71 PageID #:25429



                        administrative, regulatory, arbitration, or other proceeding in any

                        jurisdiction based on, relating to, or arising out of the Claims and causes

                        of action, or the facts and circumstances at issue, in the Lawsuit and/or

                        the Released Claims;

                    b. Filing, commencing, or prosecuting a lawsuit or administrative,

                        regulatory, arbitration, or other proceeding as a class action on behalf of

                        any Settlement Class Member who has not timely excluded his or herself

                        (including by seeking to amend a pending complaint to include class

                        allegations or seeking class certification in a pending action), based on,

                        relating to, or arising out of the Claims and causes of action, or the facts

                        and circumstances at issue, in the Lawsuit and/or the Released Claims;

                        and

                    c. Attempting to effect an opt-out of a class of individuals in any lawsuit or

                        administrative, regulatory, arbitration, or other proceeding based on,

                        relating to or arising out of the Claims and causes of action, or the facts

                        and circumstances at issue, in the Lawsuit and/or the Released Claims.

           12. Authorize the Parties, without further approval from the Court, to agree to and

               adopt such amendments, modifications, and expansions of this Agreement and all

               Exhibits hereto as (1) shall be consistent in all material respects with the Final

               Approval Order and Judgment and (2) do not limit the rights of the Settlement

               Class Members.

       7.03. Agreement to Cooperate.       Plaintiffs, Lead Class Counsel, and Defendants will

cooperate and take all reasonable actions to effectuate the Settlement and the terms and


                                              47 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 48 of 71 PageID #:25430



conditions of this Agreement. If the Court fails to enter either the Preliminary Approval Order or

the Final Approval Order and Judgment, Named Plaintiffs, Lead Class Counsel, and Defendants

will use all reasonable efforts that are consistent with this Agreement to cure any defect

identified by the Court. If, despite such efforts, the Court does not enter the Preliminary

Approval Order and Final Approval Order and Judgment, the Parties will return to their prior

positions in the Lawsuit, in accordance with this Agreement.


                                        VIII. RELEASES

       8.01. The Named Plaintiffs and each and every Settlement Class Member, regardless of

whether any Settlement Class Member executes and delivers a written release, on behalf of

themselves, as well as on behalf of all of their heirs, successors in interest, assigns, transferees

and grantees, fully and forever release, remise, acquit and discharge Releasees from the Released

Claims. By executing this Agreement, the Parties acknowledge that, upon entry of the Final

Approval Order by the Court, the Lawsuit shall be dismissed with prejudice pursuant to the terms

of the Final Order, an order of dismissal with prejudice shall be entered, and all Released Claims

shall thereby be conclusively settled, compromised, satisfied, and released as to the Releasees.

The Final Approval Order shall provide for and effect the full and final release, by the Named

Plaintiffs and all Settlement Class Members, of all Released Claims.

       8.02. The Settlement Class Members hereby acknowledge that they are aware that they

or their attorneys may hereafter discover claims or facts in addition to or different from those

which they now know or believe to exist with respect to the Released Claims, but that it is still

their intention to hereby fully, finally, and forever settle, release, extinguish and waive all of the

Released Claims, known or unknown, suspected or unsuspected, that they had, now have or,

absent this Agreement, may in the future have had against Releasees. In furtherance of such

                                               48 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 49 of 71 PageID #:25431



intention, the release herein given by the Settlement Class Members to the Releasees shall be and

remain in effect as a full and complete general release of the Released Claims notwithstanding

any discovery of the existence of any such additional or different claims or facts.

       8.03. Express Waiver of California Civil Code 1542 and Waiver of Unknown

Claims. The Settlement Class Members hereby acknowledge that the release herein given

expressly waives all the rights and benefits of Section 1542 of the California Civil Code, or

conferred by any comparable or similar statute or common law rule, regulation, or principle of

law or equity established in any state or other jurisdiction. Section 1542 of the California Civil

Code reads as follows:

     Section 1542. A general release does not extend to claims which the creditor
     does not know or suspect to exist in his or her favor at the time of executing
     the release, which if known by him or her must have materially affected his
     or her settlement with the debtor.

       8.04. If any Settlement Class Member brings an action or asserts a claim against

Releasees contrary to the terms of this Agreement, the counsel of record for such Settlement

Class Member shall be provided with a copy of this Agreement. If the Settlement Class Member

does not within 20 Days thereafter dismiss his or her action and the action or claim is

subsequently dismissed or decided in favor of the Releasees, the Settlement Class Member who

brought such action or claim shall pay Releasees’ costs and expenses, including reasonable

attorneys’ fees, incurred by Releasees in the defense of such action or claim.

       8.05. Except as otherwise provided, nothing in this Agreement shall be construed in any

way to prejudice or impair the right of Defendants or Defendants’ insurers to pursue such rights

and remedies as they may have against each other or third parties, who are not Settlement Class

Members, under or in connection with any insurance policies.



                                             49 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 50 of 71 PageID #:25432



       8.06. Notwithstanding the above, the Court shall retain jurisdiction over the parties and

the Agreement and with respect to the future performance of the terms of the Agreement, and to

ensure that all payments and other actions required of any of the Parties by the Settlement and

this Agreement are properly made or taken.

                              IX.     COVENANT NOT TO SUE

       9.01    The Named Plaintiffs, on behalf of themselves and the Settlement Class

Members, (a) covenant and agree that neither the Named Plaintiffs nor any of the Settlement

Class Members, nor any person authorized to act on behalf of any of them, will commence,

authorize, or accept any benefit from any judicial or administrative action or proceeding, other

than as expressly provided for in this Agreement, against Releasees in either their personal or

corporate capacity, with respect to any Claim, claim, matter, or issue that in any way arises from,

is based on, or relates to any alleged loss, harm, or damages allegedly caused by Releasees in

connection with the Released Claims, (b) waive and disclaim any right to any form of recovery,

compensation, or other remedy in any such action or proceeding brought by or on behalf of any

of them, and (c) agree that this Agreement shall be a complete bar to any such action.

                     X.      CLASS MEMBERS’ RIGHT TO OPT OUT

       10.01. A Settlement Class Member may opt out of the Settlement Class during the Opt-

Out Period. To exercise the opt-out right set forth in this Section, the Settlement Class Member

must complete, sign, and return a request for exclusion. The request must:

           1. Contain the Settlement Class Member’s full name and current address;

           2. Identify the name and address of the Settlement Class Member’s counsel, if any;

           3. Declare that the Settlement Class Member owns or owned a Structure or

               Structures in which Windows manufactured between January 1, 1991 and


                                             50 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 51 of 71 PageID #:25433



               December 31, 2009, have or had been installed and provide the addresses for

               those properties;

           4. Declare that the Settlement Class Member wants to be excluded from the

               Settlement Class;

           5. Identify the date the Windows were installed and/or purchased and be willing to

               provide verification if requested;

           6. Identify the date the Structure was constructed; and

           7. Be signed and dated by the Settlement Class Member.

       10.02. The request for exclusion must be sent by mail, addressed to the Notice and

Settlement Administrator, postmarked on or before the end of the Opt-Out Period. Any

Settlement Class Member who elects to opt out of the Settlement Class pursuant to this Section

shall not be entitled to relief under this Agreement.

       10.03. Defendants agree that to the extent the statutes of limitation and/or repose, or any

other defense of lapse of time are or have been tolled by operation of law as to a Settlement

Class Member’s Claim, they will continue to be tolled as to any Settlement Class Member who

opts out of the Settlement until 90 Days after the Notice and Settlement Administrator’s receipt

of the request to opt out or for such longer period as the law may provide without reference to

this Agreement.

                       XI.     PARTIES’ RIGHTS OF TERMINATION

       11.01. Unless the Parties agree otherwise in writing, this Agreement shall become null

and void, and no obligation on the part of any of the Parties will accrue, if (1) the Court declines

to conditionally certify the nationwide Settlement Class as provided in the Preliminary Approval

Order; or (2) the Court materially alters any of the terms of this Agreement (as determined by the


                                              51 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 52 of 71 PageID #:25434



Parties); or (3) the Court fails to enter the Preliminary Approval Order or the Final Approval

Order in substantially the same form submitted by the Parties.

          11.02. If 300 or more Settlement Class Members with verified Pella ProLine Casement

Windows request exclusion from the Settlement Class, Defendants may elect, unilaterally, to

rescind this Agreement by notifying Lead Class Counsel and the Court not less than 20 Days

before the date set for the Final Approval Hearing.

          11.03. If this Agreement is terminated in a manner set forth in this Section, the legal

position of each party shall be the same as it was immediately prior to the execution of this

Agreement and each party may exercise its legal rights to the same extent as if this Agreement

had never been executed.

                                 XII.    NON-DISPARAGEMENT

          12.01. The Parties and counsel hereto agree not to disparage each other, Pella brand

products, or the compromised claims at issue in the Lawsuit or the Settlement.

                        XIII. ENFORCEMENT OF THIS AGREEMENT

          13.01 In the event Defendants, the Named Plaintiffs, Class Counsel, or any Settlement

Class Member fails to perform under this Agreement, counsel for the aggrieved party shall give

counsel for the other party written notice of the breach. If the alleged breach is not cured to the

satisfaction of the aggrieved party within 30 Days, the other party may apply to the Court for

relief.

          13.02 In the event of a breach by Defendants, the Named Plaintiffs, Class Counsel, or

any Settlement Class Member, the Court may exercise all equitable powers over the breaching

party(ies) to enforce this Agreement, the Final Order, and Judgment, irrespective of the

availability or adequacy of any remedy at law.


                                                52 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 53 of 71 PageID #:25435



                      XIV. REPRESENTATIONS AND WARRANTIES

       14.01. Each of the Parties represents and warrants to, and agrees with, each of the other

Parties as follows:

           1. Each of the Parties has had an opportunity to receive, and has received,

               independent legal advice from his, her or its attorneys regarding the advisability

               of making the Settlement, the advisability of executing this Agreement, and the

               legal and income-tax consequences of this Agreement, and fully understands and

               accepts the terms of this Agreement.

           2. Settlement Class Members represent and warrant that no portion of any Claims

               that the Named Plaintiffs, the Settlement Class, and/or any of the Settlement Class

               Members ever had, now have, or may later claim to have at any time in the future

               against the Releasees, whether known or unknown, arising out of or in any way

               relating to the Pella ProLine Casement Windows, and no portion of any recovery

               or settlement to which they may be entitled, has been assigned, transferred, or

               conveyed by or for Settlement Class Members in any manner; and no person other

               than Settlement Class Members shall have any legal or equitable interest in the

               Claims or Settlement Claims referred to in this Agreement but the Settlement

               Class Members themselves.

           3. None of the Parties is relying or has relied on any statement, representation,

               omission, inducement, or promise of any other party (or any officer, agent,

               employee, representative, or attorney for any other party) in executing this

               Agreement, or in making the Settlement provided for herein, except as expressly

               stated in this Agreement.


                                             53 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 54 of 71 PageID #:25436



           4. Each of the Parties has investigated the facts pertaining to the Settlement and this

               Agreement, and all matters pertaining thereto, to the full extent deemed necessary

               by that party and his, her or its attorneys.

           5. Each of the Parties has carefully read, and knows and understands, the full

               contents of this Agreement and is voluntarily entering into this Agreement after

               having had the opportunity to consult with, and having in fact consulted with, his,

               her or its attorneys.

           6. Each term of this Agreement, under the titles of the various paragraphs, is

               contractual and not merely a recital.

                                   XV.     MISCELLANEOUS

       15.01. This Agreement is for settlement purposes only. It has been entered into for the

purpose of compromising and settling a disputed matter and is not an admission of any

deficiency or defect with or in Pella ProLine Casement Windows or with or in the design,

manufacture, sale, distribution, marketing, warranty, service, use, performance, installation,

purchase, or in any way relating to Pella ProLine Casement Windows, any misrepresentations

concerning the Pella ProLine Casement Windows, or any failure to disclose information

concerning the Pella ProLine Casement Windows. Neither the execution of this Agreement, nor

any of its provisions or attachments, nor any action taken pursuant to its terms shall, in this

action or in any other action or proceeding, be construed or considered as evidence of an

admission by Defendants of the validity of any Claim that has or could have been made by the

Named Plaintiffs, the Settlement Class, or any Settlement Class Member, and Defendants deny

there are any deficiencies or defects with or in the Pella ProLine Casement Windows or with or

in the design, manufacture, sale, distribution, marketing, warranty, performance, purchase, or in


                                              54 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 55 of 71 PageID #:25437



any way relating to the Pella ProLine Casement Windows. This Agreement, however, may be

admitted as evidence in any action to enforce its terms.

        15.02. The certification of a Settlement Class pursuant to the terms of this Agreement

shall not constitute, and shall not be construed as, an admission on the part of Defendants that

this Lawsuit, or any other proposed class action, are appropriate for certification as a litigation

class under any applicable law. The Parties agree that as of the Effective Date, the Orders

certifying the litigation classes in this Action shall be vacated, and the Final Approval Order and

Judgment shall instead certify a Settlement Class pursuant to this Agreement.

        15.03. The Confidentiality Order shall remain in effect.

        15.04. This Agreement has been negotiated at arm’s length by Lead Class Counsel and

Defendants’ counsel. If a dispute should later arise regarding any of its terms, no Party shall be

deemed to be the drafter of any particular provision of this Agreement.

        15.05. This Agreement shall be construed under and governed by the laws of the State of

Illinois.

        15.06. Class Counsel have taken substantial discovery in this Lawsuit, including

extensive document review and depositions of Defendant personnel with responsibility for

design, manufacture, sale, distribution, marketing, warranty, service, use, performance,

installation, and purchase of the Pella ProLine Casement Windows. Based on that discovery, as

well as Class Counsel’s knowledge of and participation in other class actions, Class Counsel

have evaluated the factual bases for the claims asserted in this Lawsuit and the defenses raised by

Defendants to those claims. Class Counsel believe they have engaged in more than sufficient

discovery to evaluate the terms of this Agreement on an informed basis and to negotiate a fair

and reasonable resolution of this Action.


                                              55 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 56 of 71 PageID #:25438



       15.07. This Agreement, including all attached Exhibits, shall constitute the entire

agreement between the Parties with regard to the subject matter of this Agreement and shall

supersede any previous agreement or understandings between the Parties. The Agreement may

not be changed, modified, or amended except in writing signed by Lead Class Counsel and

Defendants’ counsel and subject to Court approval. The Parties contemplate that the Exhibits

may be modified by subsequent agreement of Defendants’ counsel and Lead Class Counsel prior

to dissemination to the Settlement Class Members, and subject to Court approval.

       15.08. This Agreement, if approved by the Court, shall be binding upon and inure to the

benefit of the Parties, and their representatives, heirs, successors and assigns.

       15.09. Any notice, instruction, application for Court approval or application for Court

order sought in connection with this Agreement or other document to be given by any Party to

any other Party shall be in writing and delivered personally or by electronic mail followed by

overnight courier, to the following representatives for the Parties:

FOR SETTLEMENT CLASS:                               DEFENDANTS’ COUNSEL:

Robert A. Clifford                                  John P. Mandler
Clifford Law Offices                                Faegre Baker Daniels LLP
120 N. LaSalle Street, Suite 3100                   2200 Wells Fargo Center
Chicago, IL 60602                                   90 S. Seventh St.
(312) 899-9090                                      Minneapolis, MN 55402
rac@cliffordlaw.com                                 (612) 766-7000
                                                    john.mandler@FaegreBD.com
George K. Lang
Lang Law Office
60 B W. Terra Cotta, No. 301
Crystal Lake, IL 60012
(773) 575-5848
langlawoffice@att.net


       15.10. Except as otherwise provided in this Agreement, any filing, submission, Claim,

or notice or written communication shall be deemed filed, delivered, submitted, or effective as of

                                              56 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 57 of 71 PageID #:25439



the date of its postmark when mailed via first-class U.S. Mail, registered or certified mail,

postage prepaid, properly addressed to the recipient, or when delivered to any commercial one-

or-two-day delivery service properly addressed to the recipient, or when actually received by the

recipient, whichever occurs first.

       15.11. In no event shall Defendants, Defendants’ counsel, Named Plaintiffs, any

Settlement Class Member, or Class Counsel have any liability for claims of wrongful or

negligent conduct by any third party with respect to the implementation of any term of this

Agreement.

       15.12. The Parties and their respective counsel agree to prepare and execute any

additional documents that may reasonably be necessary to effectuate the terms of this

Agreement.

       15.13. The Parties are entering into this Agreement for the purpose of compromising and

settling disputed claims. Nothing in this Agreement or in the documents relating to this

Agreement shall be construed, deemed or offered as an admission by any of the Parties, or by

any Settlement Class Member, for any purpose in any judicial or administrative action or

proceeding, whether in law or in equity, regardless of whether this Agreement ultimately

becomes effective.

       15.14. Defendants will continue to provide service in the normal course of business to

their customers, including Settlement Class Members, through the Effective Date.

       15.15. This Agreement may be executed by the Parties in one or more duplicate

counterparts, each of which shall be deemed an original, but all of which together shall constitute

one and the same instrument. Facsimile or email transmission of any signed original of this

Agreement and/or retransmission of any signed facsimile or scanned transmission shall be the


                                              57 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 58 of 71 PageID #:25440



same as delivery of an original. At the request of any party, The Parties shall confirm facsimile

transmission by signing a duplicate, original of this Agreement.




                                             58 of 59
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 59 of 71 PageID #:25441
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 60 of 71 PageID #:25442
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 61 of 71 PageID #:25443
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 62 of 71 PageID #:25444
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 63 of 71 PageID #:25445
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 64 of 71 PageID #:25446
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 65 of 71 PageID #:25447
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 66 of 71 PageID #:25448
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 67 of 71 PageID #:25449
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 68 of 71 PageID #:25450




   APPROVED AS TO FORM:

    CLIFFORD LAW OFFICES                  FAEGRE BAKE R DANIELS LLP


    Robert A. Clifford                    John P. Mandler
    120 N. LaSalle Street, Suite 3100     2200 Wells Fargo Center
    Chicago, IL 60602                     90 S. Seventh Street
                                          Minneapolis, MN 55402-3901
    LANG LAW OFFICE
                                          John A. Roberts
    George K. Lang                        311 S. Wacker Drive, Suite 4300
    60 B W. Terra Cotta, No. 301          Chicago, IL 60606
    Crystal Lake, IL 60012                ATTORNEYS FOR DEFENDANTS
    ATTORNEYS FOR PLAINTIFFS

    NAMED PLAINTIFFS:                    DEFENDANTS:


    Kent Eubank                           David N. Smart
                                          Senior Vice President
                                          Chief Financial Officer
    Jerry Davis                          For Pella Corporation

    Ricky Falaschetti
                                          David N. Smart
     Rita Cicinelli                       Senior Vice President
                                          For Pella Windows and Doors, Inc.
     Robert Josephberg

     Jeffrey Acton


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     Amy Chasin

     Edward Ruhnke
Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 69 of 71 PageID #:25451
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                                             'AIT'TORNFYS FOR PLAINTIFFS

                                              NAMED PLAINTIFFS:                                                                                                                                DEFvEND~TS:

                                            Kent Eubank                                                                                                                                       David N. Smart
                                                                                                                                                                                              Senior Vice President
                                                                                                                                                                                                                                                                              "




                                                                                                                                                                                              Chief Financial Officer
                                           Jerry Davis                                                                                                                                        For'Pella Corporation

                                          Ricky Falaschetti
                                                                                                                                                                                               David N. Smart
                                          Rita Cicinelli                                                                                                                                       Senior Vice President
                                                                                                                                                                                               For Pella 5'indoors and Doors, Ino
                                         Robert Josephberg
                                                                         Ir




                                         Jeffrey Acton


                                         Kenneth Hechtman


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Case: 1:06-cv-04481 Document #: 672-1 Filed: 02/08/18 Page 71 of 71 PageID #:25453
